Case 1:04-cv-01267-.]DT-tmp Document 18 Filed 04/22/05 Page 1 of 3 Page|D 20

lN THE UN|TED STATES DISTR|CT COURT, F!i_ -_ 55
FOR THE WESTERN D|STR|CT OF TENNESSEE,
EASTERN D|V|SlON 05 i.¥,°:'=i 22 i iii L\f is `

 

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cu-:ni:. us tz; ;T.

ROGER D. R|LEY. W.o. oi= m z\.ii;.v.r»i~izs

P|aintiff,
VS. NO. 1-04-1267-T-P
JURY DEi\/|ANDED
WAL-NIART Store #335, WAL-MART
ASSOCiATES, |NC., WAL-MART
STORES, |NC., WAL-|V|ART STORES
EAST, |NC., A & |V| CLEANING
PRODUCTS, iNC., BlO-LAB, |NC.,
individually and as Owner of A & i\/|
CLEAN|NG PRODUCTS, |NC.,
B|O-LAB, |NC., as a Whoi|y-owned
subsidiary of GREAT LAKES
CHE|V||CAL CORPORAT|ON,
GREAT LAKES Ci-IEIV||CAL
CORPORATION, |ndividua||y,
AUTO|V|ATED PACKAG|NG SYSTE|V|S,
|NC., AUTOMATED PACKAG|NG
SYSTEl\/|S SOUTHEAST, LLC,
CKS PACKAG|NG, |NC., and
PACKAGE SUPPLY & EQUiPMENT
CO., iNC.,

VVVVVWVVVVVVVVVVVVVVVVV"\-_I"\-I‘\-I

Defendants.

’W?
ORDER GRANT|NG PLAINT|FF’S
MOT|ON TO AMEND COMPLA|NT

 

 

This matter came before the Court upon the P|aintiff’s |V|otion to Amend
Compiaint. lt appears to the Court that the Motion is weil taken and it should be

and hereby is granted

 

Case 1:O4-cv-01267-.]DT-tmp Document 18 Filed 04/22/05 Page 2 of 3 Page|D 21

|T |S THEREFORE ORDERED, ADJUDGED AND DECREED that the

P|aintitf be and hereby is aliowed to amend his Cornpiaint ih this cause.

M

HONORABLE MME§D'.'TODD"]"(# M , P\,\¢;M

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Date: ‘{I/Z?-l/o§'-

     

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Honorable J ames Todd
US DISTRICT COURT

